  Case 1:16-cv-00455-PJG ECF No. 71 filed 03/27/18 PageID.2039 Page 1 of 1



                      UNITED STATES OF AMERICA
                    UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


JOHN GARBER,                        )
                                    )
                                    )
                  Plaintiff,        )       Case No. 1:16-cv-00455
                                    )
v.                                  )       Honorable Phillip J. Green
                                    )
MITCHELL DEISCH, et al.             )             JUDGMENT
                                    )
                  Defendants.       )
____________________________________)


      For the reasons set forth in the accompanying Opinion,
      IT IS ORDERED that defendants’ motions for summary judgment (ECF No.

42, 46) are GRANTED. Plaintiff’s motion to amend the complaint (ECF No. 35) is

DENIED.




Dated: March 27, 2018                       /s/ Phillip G. Green
                                            PHILLIP J. GREEN
                                            United States Magistrate Judge
